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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

AMERICAN CIVIL LIBERTIES UNION

FOUNDATION,
Plaintiff. AFFIDAVIT OF KYLE VIRGIEN
IN SUPPORT OF
v. MOTION FOR ADMISSION
PRO HAC VICE
UNITED STATES IMMIGRATION AND
CUSTOMS ENFORCEMENT, Case No. 1:24-cv-07183-VEC
Defendant.

Pursuant to Rule 1.3 of the Local Rules of the United States District Courts for the

Southern and Eastern Districts of New York, I, Kyle Virgien, hereby swear or affirm that:

1. I am over the age of eighteen (18) and I am fully competent and qualified to make this
affidavit.

2. Iam submitting this affidavit in support of my motion to practice Pro Hac Vice to appear
as counsel for Plaintiff, American Civil Liberties Union Foundation, in the above-
captioned action.

3. As shown in the Certificates of Good Standing annexed to this filing, | am a member in
good standing of the bar of the Supreme Court of the state of California.

4. | have never been convicted of a felony.

5. [have never been censured, suspended, disbarred, or denied admission or readmission by

any court.
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6. There are no disciplinary proceedings presently against me in any state or federal court.
Dated: This tenth day of October, 2024.

Respectfully Submitted,

€ Virgt
American Civil Liberties Union Foundation
National Prison Project
425 California St., 7th Floor
San Francisco, CA 94104
Phone: 415-343-0770
kvirgien@aclu.org

Subscribed and sworn to or affirmed before me this

day of in the year 2024.

NOTARY PUBLIC | baneteee
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A notary public or other officer completing this
certificate verifies only the identity of the individual
who signed the document to which this certificate
is attached, and not the truthfulness, accuracy, or
validity of that document.

State of California
County of _ Alo mle

Subscribed and sworn to (or affirmed) before me on this [0
day of OC7@bEC 2024, by_Kyfe A mtthell

M9 jes) : _ ;
proved to me on the basis of satisfactory evidence to be the
person(s) who appeared before me.

NATHAN SKINNER |

COMM. #2478042

MY COMM. EXP. DECEMBER 31, 2027
ignature Noi tel

